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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  JHAQUILLE HANKERSON,

                        Plaintiff,

  v.                                                      Case No.:

  JUUL LABS, INC., ALTRIA GROUP, INC.,
  ALTRIA ENTERPRISES LLC, PHILIP
  MORRIS USA, INC., JAMES MONSEES;
  ADAM BOWEN; NICHOLAS PRITZKER;
  HOYOUNG HUH; RIAZ VALANI,

                        Defendants.


                                     NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants Altria Group, Inc., Altria

Enterprises LLC, Philip Morris USA Inc. (hereafter “the Altria Defendants”) hereby removes this

action, captioned Jhaquille Hankerson v. Juul Labs, Inc., et al., Case No. 2021 CA 002590 B, from

the Superior Court of the District of Columbia, to the United States District Court for the District

of Columbia. This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332

because there is complete diversity of citizenship and the amount in controversy exceeds $75,000,

exclusive of interest and costs.

       By filing this Notice of Removal, the Altria Defendants do not waive, and hereby reserve,

any and all objections to venue, personal jurisdiction, the legal sufficiency of the claims alleged in

Plaintiff’s complaint, and all other objections and defenses. The Altria Defendants reserve the

right to supplement and amend this Notice. Pursuant to 28 U.S.C. § 1446(a), Altria Defendants

provide the following statement of the grounds for removal:
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                                         BACKGROUND

       1.      Plaintiff Jhaquille Hankerson commenced this action on July 27, 2021, in the

Superior Court of the District of Columbia, Civil Division, which is within the district and division

to which this case is removed. 28 U.S.C. § 88. As required under 28 U.S.C. § 1446(a), copies of

all process, pleadings, and orders in the underlying district action are attached as Exhibit A.

       2.      In this civil action, Plaintiff asserts claims against Defendants based on the design,

promotion, marketing, and sale of JUUL products. Specifically, Plaintiff alleges that Defendants

“engaged in a campaign of deceit . . . about the dangers of JUUL products,” that JLI “had

purposefully targeted youth in their marketing,” that JLI “design[ed] designing an unsafe product

with a high nicotine content that was intended to addict,” that JLI “engaged in a years’ long

campaign to downplay JUUL’s nicotine content,” and that Defendants “knew that its flavors had

attracted young people and non-smokers.” See, e.g., Compl. ¶¶ 5, 7, 79, 124, 564. Plaintiff alleges

that Defendants “caused and/or substantially contributed to Plaintiff’s injuries” and that

“Plaintiff would not have purchased or started using JUUL’s products if she had been adequately

warned about the nicotine content and dosage, risks of addiction, and other health risks.” Id. ¶

496.

       3.      Plaintiff asserts nineteen causes of action: (1) Negligence/Gross Negligence; (2)

Negligent Design; and (3) Negligent Failure to Warn; (4) Negligent Manufacturing; (5) Negligent

Failure to Recall/Retrofit; (6) Strict Liability – Defective Manufacture; (7) Strict Liability –

Defective Design; (8) Strict Liability – Failure to Warn; (9) Fraud; (10) Fraudulent Concealment;

(11) Negligent Misrepresentation; (12) Civil Conspiracy; (13) Unjust Enrichment; (14) Breach of

Express Warranties; (15) Breach of Warranty, Implied Warranty – Fitness for a Particular Purpose;

(16) Breach of Implied Warranty of Merchantability; (17) Violation of North Carolina Unfair


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Deceptive Trade Practices (UDPTA); (18) Intentional Infliction of Emotional Distress; and (19)

Negligent Infliction of Emotional Distress.

         4.        Removal is proper pursuant to 28 U.S.C. § 1332 because there is complete diversity

of citizenship between Plaintiff and Defendants, the amount in controversy exceeds $75,000,

exclusive of interest and costs, the only in-state Defendant has not been served, and all other

requirements for removal have been satisfied.

         5.        This notice is timely filed under 28 U.S.C. § 1446(b).

         6.        In addition, under 28 U.S.C. § 1332(a) and 28 U.S.C. § 1446(b), defendants who

have been properly joined and served must consent to removal. No Defendants have been served

in this action.1

         7.        Pursuant to 28 U.S.C. § 1446(d), the Altria Defendants will give written notice of

the filing of this Notice of Removal to all parties of record in this matter and will file a copy of

this Notice with the clerk of the Superior Court in which this action was filed.

         8.        If any question arises as to the propriety of the removal to this Court, the Altria

Defendants and the remaining defendants request the opportunity to present a brief and oral

argument in support of their position that this case has been properly removed.

    I.        ONGOING MULTIDISTRICT PROCEEDINGS

         9.        On October 2, 2019, the Judicial Panel on Multidistrict Litigation (“JPML”) issued

a Transfer Order, which transferred lawsuits concerning the development, manufacture, labeling,

and marketing of JUUL products, and the alleged risks posed by those products, to the Northern

District of California for assignment to the Honorable William H. Orrick III for coordinated and




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 The Defendants expressly reserve, and do not waive, all defenses related to service of process
and personal jurisdiction.
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consolidated pretrial proceedings. Transfer Order, In re: JUUL Labs, Inc., Mktg., Sales Practices,

and Products Liab. Litig., MDL No. 2913 (J.P.M.L. Oct. 2, 2019), ECF No. 144.

        10.     Since that time, more than 2,000 cases raising similar factual issues against JLI and

the Altria Defendants have been filed in courts around the country and transferred by the JPML to

MDL No. 2913 or filed directly in MDL No. 2913.

        11.     In view of the substantial factual overlap between this action and the thousands of

actions already transferred and coordinated in MDL No. 2913, the Altria Defendants intend to

notify the JPML that this case is also a “tag-along” action that should be transferred to the Northern

District of California for inclusion and coordination with MDL No. 2913.

                                 VENUE AND JURISDICTION

II.          VENUE IS PROPER IN THIS COURT.

        12.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 88, 1391, 1441(a), and

1446(a) because the Superior Court of the District of Columbia, District of Columbia, where the

complaint was filed, is a district within the United States District Court for the District of

Columbia.

III.    THIS COURT HAS SUBJECT MATTER JURISDICTION UNDER 28 U.S.C.
        § 1332.

        13.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because there is

complete diversity of citizenship between Plaintiff and Defendants, the amount in controversy

exceeds $75,000, exclusive of interest and costs, and all other requirements for removal have been

satisfied.




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       A.      There Is Complete Diversity Of Citizenship Between Plaintiff And Defendants.

       14.     Plaintiff Jhaquille Hankerson is a citizen of the State of North Carolina. See Compl.

¶ 15 (“Plaintiff Jhaquille Hankerson is a 27-year-old adult male living in Cary, North Carolina.”);

28 U.S.C. § 1332(a)(1).

       15.     Defendant JLI is a Delaware corporation. Compl. ¶ 17. Its principal place of

business is Washington, D.C. Id.

       16.     Defendant Altria Group, Inc., is a Virginia corporation with its principal place of

business in Virginia. Compl. ¶ 18.

       17.     Defendant Altria Enterprises LLC is a Virginia limited liability company with its

principal place of business in Virginia. Id. ¶ 20. Through its sole member, Altria Group, Inc.,

Altria Client Services LLC is a citizen of Virginia.

       18.     Defendant Philip Morris USA Inc. (incorrectly named in the caption as Philip

Morris USA, Inc.) is a Virginia corporation with its principal place of business in Virginia. Id. ¶

21.

       19.     Defendant James Monsees is a citizen of the State of California. Id. ¶ 22.

       20.     Defendant Adam Bowen is a citizen of the State of California. Id. ¶ 23.

       21.     Defendant Nicholas Pritzker is a citizen of the State of California. Id. ¶ 24.

       22.     Defendant Hoyoung Huh is a citizen of the State of California. Id. ¶ 25.

       23.     Defendant Riaz Valani is a citizen of the State of California. Id. ¶ 26.

       24.     In sum, Plaintiff is a citizen of North Carolina and Defendants are citizens of

Delaware, Washington, D.C., Virginia, and California. Thus, there is complete diversity of

citizenship between Plaintiff and Defendants.




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       B.      The Amount In Controversy Exceeds $75,000.

       25.     Under 28 U.S.C. § 1332, diversity jurisdiction requires that the matter in

controversy “exceed[] the sum or value of $75,000, exclusive of interest and costs.” This

requirement is met.

       26.     A “notice of removal need include only a plausible allegation that the amount in

controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co. v. Owens,

135 S. Ct. 547, 554 (2014). “Evidence establishing the amount is required . . . only when the

plaintiff contests, or the court questions, the [removing] defendant’s allegation.” Id. “[C]ourts

may consider the evidence provided to them and exercise some degree of common sense in order

to independently determine whether the amount in controversy has been met.” M3 USA Corp. v.

Haunert, No. 20-CV-3784 (DLF), 2021 WL 1894847, at *1 (D.D.C. May 11, 2021) (quoting

Parker-Williams v. Charles Tini & Assocs., Inc., 53 F. Supp. 3d 149, 152 (D.D.C. 2014)).

       27.     The complaint does not include a specific demand for damages. However, a full

and fair reading of it confirms the amount in controversy exceeds $75,000, exclusive of interest

and costs. To begin with, the complaint “seeks compensatory, treble, punitive damages, and

medical monitoring.” Compl. ¶ 496. Plaintiff claims she “still struggles with this nicotine

addiction and will continue to struggle with this addiction for the rest of her life,” and that

“Defendants’ conduct has also harmed Plaintiff emotionally and financially.” Compl. ¶¶ 494-95.

Plaintiff seeks judgment for, inter alia, “medical expenses; pain and suffering; mental anguish,

anxiety, and discomfort; lost wages and income; fear of cancer or other related diseases; loss of

enjoyment of life; loss of consortium; pre and post judgment interest; exemplary and punitive

damages . . . ; treble damages; general damages; damages allowed and/or provided for under D.C.

Code § 28–3905; Damages allowed and/or provided for under D.C. Code § 28–4508; reasonable


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attorneys’ fees and expenses; such other relief to which Plaintiff may be justly entitled; and Any

and all other damages to be shown at trial” Id. ¶ 736. These and other allegations compel the

conclusion that the amount in controversy exceeds the jurisdictional minimum.

       28.     Plaintiff is not entitled to damages or fees of any amount, but a fair reading of the

complaint describes an amount in controversy exceeding $75,000.

IV.    SNAP REMOVAL IS PERMISSIBLE UNDER 28 U.S.C. § 1441(B)(2)

       29.     Generally, “formal service is not required prior to removal.” See, e.g., Doe v.

Daversa Partners, No. 20-CV-3759 (BAH), 2021 WL 736734, at *5 (D.D.C. Feb. 25, 2021); 28

U.S.C. § 1448 (providing for service after removal if “any one or more of the defendants has not

[yet] been served with process or . . . the service has not been perfected prior to removal”).

       30.     Accordingly, out-of-state defendants such as the Altria Defendants are permitted,

by statute, “to remove a diversity case when the in-state defendant has not been served.” Daversa

Partners, 2021 WL 736734, at *3 (D.D.C. Feb. 25, 2021) (“As written, the plain language of this

statutory provision only bars removal when a forum-defendant has been properly joined and

served.”) (emphasis added); 28 U.S.C. § 1441(b)(2). “The weight of authority is that snap

removals are permitted under the forum-defendant rule, and the plain text of the statute supports

this conclusion. Id. at *4; see also Middlebrooks v. Godwin Corp., 279 F.R.D. 8, 11 (D.D.C. 2011)

(listing multiple federal district courts that have held “formal service is not required before

removing a case.”); Daversa Partners, 2021 WL 736734, at *4 (collecting cases and noting that

pre-service removal under § 1441(b)(2) has been upheld by multiple federal circuit courts).

       31.     Because the requirements of federal diversity jurisdiction are met, and JLI has not

been served, removal is proper under 28 U.S.C. § 1441.




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                                        CONCLUSION

       WHEREFORE, having met all conditions of removal pursuant to 28 U.S.C. §§ 1332, 1441,

and 1446, Altria Defendants hereby remove this action from the Superior Court of the District of

Columbia, to this Court, and respectfully requests that no further proceedings be had in the

Superior Court of the District of Columbia.



DATED: July 29, 2021                          Respectfully submitted,

                                              /s/ David E. Kouba
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